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     EXHIBIT D
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           Anti -tying - continued
           Anti-tying Rules - continued
                     An example of reciprocity would be if a bank provided a loan to a printing
                     company but conditioned the Joan on the requirement that the printing company
                     would provide printing services to the bank in addition to the necessary collateral.


           Knowledge Check
                     Select the correct answer by identifying whether the following transactions are
                     tying, exclusivity or reciprocity.
                     Providing a loan based on the requirement that the client provide an additionaJ1
                     service. Correct answer: Reciprocity.
                         Reciprocity is providing or discounting one product or service on a
                         condition or requirement that the client provide an additional product or
                         service to the bank or any of its affiliates.
                    Providing a loan only on the condition that the client not obtain a loan from a
                    competitor. Correct answer: Exclusivity.
                         Exclusivity is providing or discounting one product or service on a
                         condition or requirement that the client not purchase another product or
                         service from a competitor.
                    Conditioning the availability of deposit services on the cllent purchasing
                    securities services from an affiliate. Correct answer: Tying.
                         Tying is the conditioning of the availability of a product or service based
                         on the client obtaining an additional product or service.


           Prohibited Conduct
                    Based on bank regulatory Interpretations and other regulatory changes, the anti-
                    tying rules prohibit the following practices:
                    •    A bank may not condition the extension of credit on the client obtaining
                         securities underwriting services from the bank's securities affiliate.
                    •    A bank may not condition the extension of credit on the client entering into a
                         derivative transaction with the bank.
                    •   A bank may not condition the extension of credit on the client purchasing
                        securities using a broker-dealer affiliate.
                    •    A bank may not condition the extension of credit on the client purchasing
                         other real estate owned (OREO} from the bank.


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